                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )      MATTICE/CARTER
                                              )
       v.                                     )      CASE NO. 1:10-CR-33
                                              )
DEMETRIA JACKSON                              )


                                            ORDER

       On July 21, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to manufacture, distribute, and

possess with the intent to distribute cocaine base (crack), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(C)in exchange for the undertakings made by the

government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

charges set forth in the lesser included offense in Count One of the Indictment; (c) that a decision

on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

remain in custody pending sentencing in this matter (Doc. 33). Neither party filed an objection

within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

as follows:

       (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

Indictment, in exchange for the undertakings made by the government in the written plea

agreement, is ACCEPTED;




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       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

offense in Count One of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

December 6, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:



                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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